Case 9:22-mj-08332-BER Document 74 Entered on FLSD Docket 08/18/2022 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-MJ-8332-REINHART
                                                                                         JMD

  IN RE: Sealed Search Warrant
                                                                                Aug 18, 2022
  __________________________________________/
                                                                                          WPB
                                              ORDER

         THIS CAUSE is before the Court on motions to unseal the search warrant materials,

  including the probable cause affidavit, that were filed by the Media-Intervenors. ECF Nos. 4, 6,

  9, 20, 22, 23, 30-33. Today I held a hearing on the motions. As I ruled from the bench at the

  conclusion of the hearing, I find that on the present record the Government has not met its burden

  of showing that the entire affidavit should remain sealed. It is ORDERED that by noon EST on

  Thursday, August 25, 2022, the Government shall file under seal its proposed redactions along

  with a legal memorandum setting forth the justification for the proposed redactions.

         It is FURTHER ORDERED that ECF No. 57 shall be unsealed by the Clerk of Court.

         DONE AND ORDERED in Chambers at West Palm Beach, Florida this 18th day of

  August, 2022.




                                                      __________________________________
                                                      HON. BRUCE E. REINHART
                                                      UNITED STATES MAGISTRATE JUDGE
